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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  UNITED STATES CONFERENCE OF
  CATHOLIC BISHOPS,

                               Plaintiff,

  v.                                                           Case No. 1:25-cv-465-TNM

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                               Defendants.

              EMERGENCY MOTION FOR INJUNCTION PENDING APPEAL

       Pursuant to Federal Rule of Civil Procedure 62(d), the United States Conference of Cath-

olic Bishops (“USCCB”) moves for an emergency injunction pending its appeal to the United

States Court of Appeals for the District of Columbia Circuit from this Court’s Order, ECF No. 37,

denying USCCB’s Motion for Preliminary Injunction.

       “[T]o obtain an injunction pending appeal, the moving party ‘must establish [1] that he is

likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of

preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in

the public interest.’” Cigar Ass’n of Am. v. U.S. Food & Drug Admin., 317 F. Supp. 3d 555, 560

(D.D.C. 2018) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). “Of course,

by its own terms,” Rule 62(d) “necessarily envisions situations in which a district court that has

denied an injunction still grants an injunction pending appeal”—“even if the court that just denied

injunctive relief ‘believe[s] its analysis’ in denying relief ‘is correct.’” United States v. Facebook,

2024 WL 291739, at *1 (D.D.C. Jan. 12, 2024) (alteration in original) (quoting Wash. Metro. Area

Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 844–45 (D.C. Cir. 1977)). Thus, when the

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“threat of irreparable harm” is “grave” and balance of the equities “decisively” favors relief, an

injunction pending appeal “may be proper” if the movant “establishes a ‘serious legal question’ on

the merits and shows that ‘the other three factors tip sharply’ in its favor.” Id. (citations omitted).

       This Court should grant a motion for injunction pending appeal because USCCB has, at a

minimum, raised serious legal issues on the merits for the reasons explained in its prior briefing.

ECF Nos. 5, 22, 28, 30, 36. In addition, USCCB continues to suffer grave irreparable harm to its

faith-based mission, and the equities in this case tip sharply in its favor, as USCCB has also ex-

plained. See, e.g., ECF No. 30-2 at 10. Further, this Court should not require USCCB, a nonprofit,

religious organization seeking to vindicate important public rights, to post a bond, as doing so

would undermine its right to judicial review. ECF No. 28 at 24–25.

  March 13, 2025                                       Respectfully submitted,

                                                       /s/ David W. Casazza

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